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                                                               July 31, 2018


BY ECF

Hon.!Paul!G.!Gardephe
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

             Re:           United States v. Kaleil Isaza Tuzman, et al., 15 Cr. 536(PGG)

Dear Judge Gardephe:

         This letter is respectfully submitted to request that the Court schedule a Fatico hearing in
connection with the sentencing of defendant Omar Amanat. On July 24, 2018, the Government
filed its sentencing submission in this case. The sentencing submission, including the report of
Torben Voetmann, PhD, represents the Government’s first full articulation of its theory
regarding the loss amount in this case. We disagree with the both the complex methodology and
the conclusion of the Voetmann report. We also believe that the Government has failed to justify
the loss calculation for Counts One Through Three. A hearing is necessary where the defense
should have the opportunity to question Dr. Voetmann and address any other necessary factual
disputes.

       We also believe that the Government has failed to establish the propriety of
enhancements for a substantial part of the scheme occurring outside of the United States and for
Mr. Amanat being associated with an investment advisor. We do not believe a hearing is
necessary on these issues, but we defer to the Court on the necessity of additional factual
inquiry.1




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1!We also dispute the Government’s assertion that an obstruction of justice enhancement is appropriate, as we expect
to address after the factual issues have been addressed.!

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        While these issues are complex, given Mr. Amanat’s continued detention and given that
family members of Mr. Amanat have traveled to the United States to attend sentencing, we
respectfully request that the Court schedule the Fatico hearing at the earliest practical date and
that the Government be required to produce 3500 material for any hearing witnesses
substantially in advance of the hearing date.

       We appreciate the Court’s consideration.


                                                      Respectfully submitted,

                                                      _/s/_Randall W. Jackson____
                                                      Randall W. Jackson
                                                      Joanna Wright

cc: All parties




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